Filed 8/26/24 Nationwide Trans v. Cal. Unemployment Insurance Appeals Bd. CA3
                                           NOT TO BE PUBLISHED
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.




                IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                       THIRD APPELLATE DISTRICT
                                                     (Sacramento)
                                                            ----



 NATIONWIDE TRANS, INC.,                                                                       C098435

                    Plaintiff and Appellant,                                        (Super. Ct. No. 34-2021-
                                                                                   80003667-CU-WM-GDS)
           v.

 CALIFORNIA UNEMPLOYMENT INSURANCE
 APPEALS BOARD et al.,

                    Defendants and Respondents.




         Nationwide Trans., Inc. (Nationwide), sought a writ of mandate ordering the
California Unemployment Insurance Appeals Board (the Appeals Board) to set aside its
decision upholding a large tax assessment levied against it by the Employment
Development Department (EDD). The Appeals Board and EDD demurred, and the trial
court sustained the demurrer without leave to amend on two grounds: (1) Nationwide
failed to allege it had exhausted all available administrative remedies by filing a claim for
refund with EDD and obtaining a final decision from the Appeals Board on that claim;
and (2) writ relief was not available because Nationwide had an adequate remedy at law


                                                             1
(namely, a lawsuit for a refund after filing a claim for refund and exhausting all
administrative remedies related to that claim). Nationwide appeals from the judgment of
dismissal. We affirm the trial court’s order as to all causes of action challenging the
assessment and the Appeals Board’s decision upholding it. However, we find Nationwide
should have been granted leave to amend one discrete cause of action challenging charges
to its reserve account.
                   FACTUAL AND PROCEDURAL BACKGROUND
       Because we are reviewing a judgment entered following the sustaining of a
demurrer, we take the factual background from the allegations in the petition and the
exhibits attached thereto. (Performance Plastering v. Richmond American Homes of
California, Inc. (2007) 153 Cal.App.4th 659, 665.)
       Nationwide is a motor carrier that utilizes the services of truck drivers to transport
goods. Most of its drivers own and operate their own trucks. Nationwide classified all of
its drivers as independent contractors. In 2010, it was audited by EDD. The audit
concluded those drivers who owned and operated their own trucks were independent
contractors, but those who did not were employees. No penalties were assessed for the
misclassification of some drivers because the auditor found Nationwide had a reasonable
belief they were independent contractors. Nationwide did not challenge the results of this
audit, and it is not at issue here.
       In 2018, EDD audited Nationwide again. This time, EDD concluded all of
Nationwide’s drivers were employees rather than independent contractors, and it was thus
liable for paying or withholding payroll taxes on or from their wages. As a result of the
audit, EDD assessed Nationwide over $2 million in unpaid payroll taxes, penalties, and
interest.
       Nationwide filed a petition for reassessment, contending all of its drivers were
independent contractors, and even if they were employees, the amount of the assessment



                                              2
was incorrect and penalties and interest should be waived because it had a good faith
belief the drivers were independent contractors.
        A three-day evidentiary hearing was held before an administrative law judge
(ALJ). The ALJ found all of Nationwide’s drivers were employees rather than
independent contractors and penalties were appropriate because the first audit found
some drivers were employees and Nationwide was thus negligent in continuing to
classify all drivers as independent contractors. The ALJ thus affirmed the assessment in
full.
        Nationwide appealed the ALJ’s decision to the Appeals Board, which affirmed the
ALJ’s decision and denied the petition for reassessment.
        Nationwide thereafter filed a petition for writ of mandate challenging the Appeals
Board’s decision. The petition alleged the drivers were properly classified as independent
contractors, and the Appeals Board’s findings to the contrary are not supported by the
evidence. It also alleged the Appeals Board failed to proceed in the manner required by
law because the assessment exceeded the three-year period provided by section 1132 of
the Unemployment Insurance Code,1 and the amount was based on gross income rather
than net income as required by sections 929 and 13009. Finally, it alleged Nationwide
had a reasonable belief its drivers were independent contractors based on the results of
the first audit. Based on these allegations, Nationwide sought a writ of mandate directing
the Appeals Board to set aside its decision and adjust the assessment accordingly. We
note the relevant pleading is the first amended petition, and it included an allegation that
Nationwide paid the assessment in full sometime after the original petition was filed.
        The bulk of the petition — and six of its seven causes of action — concerned
Nationwide’s challenge to the assessment and the Appeals Board’s decision denying its



1       Further undesignated statutory references are to the Unemployment Insurance
Code.

                                              3
petition for reassessment. However, the petition also alleged one of Nationwide’s drivers
filed a claim for unemployment insurance (UI) benefits and Nationwide contested the
claim, but its reserve account was charged without a hearing. One cause of action (the
fourth) was based on these discrete allegations.
       The EDD and the Appeals Board (collectively respondents) demurred to the
petition on three grounds: (1) article XIII, section 32 of the California Constitution and
section 1851 of the Unemployment Insurance Code prohibit the issuance of a writ of
mandate to prevent or enjoin the collection of any tax; (2) Nationwide failed to exhaust
its administrative remedies by first paying the assessment and then filing a claim for a
refund and obtaining a final decision from the Appeals Board regarding that claim; and
(3) the challenged decision was not subject to review by petition for writ of mandate
because an adequate remedy at law existed (namely, a suit for a refund). The trial court
overruled the demurrer on the first ground because the petition alleged Nationwide paid
the assessment in full after the action was originally filed, and the action was thus not one
to prevent or enjoin the collection of a tax. However, it sustained the demurrer on the
second and third grounds as to the causes of action challenging the assessment, and on
the second ground as to the cause of action challenging the charges to Nationwide’s
reserve account. It also denied leave to amend, explaining it had “previously sustained
the demurrer to the original petition on the same grounds, namely, the unavailability of
writ of mandate in challenges to tax assessments and the failure to exhaust administrative
remedies. [Nationwide] failed to cure those defects by amendment, and it does not
appear that it will be able to do so with an additional opportunity to amend.” It thereafter
entered a judgment of dismissal, and this appeal followed.




                                             4
                                       DISCUSSION
                                               I
                                     Standard of Review
         “A demurrer tests the legal sufficiency of the complaint, and the granting of leave
to amend involves the trial court’s discretion. Therefore, an appellate court employs two
separate standards of review on appeal. [Citations.] First, the complaint is reviewed de
novo to determine whether it contains sufficient facts to state a cause of action.
[Citation.] In doing so, we accept as true the properly pleaded material factual
allegations of the complaint, together with facts that may be properly judicially noticed.
Reversible error exists only if facts were alleged showing entitlement to relief under any
possible legal theory.” (Hernandez v. City of Pomona (1996) 49 Cal.App.4th 1492,
1497.)
         “Second, where the demurrer is sustained without leave to amend, [we] determine
whether the trial court abused its discretion in doing so. [Citations.] On review of the
trial court’s refusal to grant leave to amend, we will only reverse for abuse of discretion if
we determine there is a reasonable possibility the pleading can be cured by amendment.”
(Hernandez v. City of Pomona, supra, 49 Cal.App.4th at pp. 1497-1498.) “The burden of
proving such reasonable possibility is squarely on the plaintiff.” (Pich v. Lightbourne
(2013) 221 Cal.App.4th 480, 490.)
                                              II
                         Nationwide’s Challenges to the Assessment
         As noted above, six of the seven causes of action in the petition challenged the
assessment and/or the Appeals Board’s decision denying Nationwide’s petition for
reassessment. In this section, we discuss these causes of action. In the next section, we
discuss the one cause of action that challenged charges to Nationwide’s reserve account.




                                               5
       A.     Exhaustion of Administrative Remedies
              i.     General principles
       “The rule requiring exhaustion of administrative remedies is well settled. ‘In
general, a party must exhaust administrative remedies before resorting to the courts.
[Citations.] Under this rule, an administrative remedy is exhausted only upon
“termination of all available, nonduplicative administrative review procedures.”
[Citations.]’ [Citations.] [¶] The exhaustion rule ‘ “is not a matter of judicial discretion,
but is a fundamental rule of procedure . . . binding upon all courts.” ’ ” (Williams &amp;
Fickett v. County of Fresno (2017) 2 Cal.5th 1258, 1267-1268.) The rule applies to
taxpayers seeking relief from an allegedly erroneous tax assessment. (Grotenhuis v.
County of Santa Barbara (2010) 182 Cal.App.4th 1158, 1163.)
       “A demurrer may properly be sustained based on the failure to adequately plead
exhaustion of administrative remedies. [Citation.] In order to withstand a demurrer for
failure to allege exhaustion of available administrative remedies, the plaintiff must allege
facts showing that he did exhaust administrative remedies.” (Tejon Real Estate, LLC v.
City of Los Angeles (2014) 223 Cal.App.4th 149, 156.) “A complaint is also vulnerable
to demurrer on administrative exhaustion grounds where the complaint’s allegations,
documents attached thereto, or judicially noticeable facts indicate that exhaustion has not
occurred.” (Parthemore v. Col (2013) 221 Cal.App.4th 1372, 1379.)
              ii.    The administrative remedies that must be exhausted prior to filing a
                     lawsuit challenging a tax assessment
       The California Constitution gives the Legislature exclusive control over the
procedure pursuant to which a taxpayer may challenge a tax assessment. Article XIII,
section 32 provides: “After payment of a tax claimed to be illegal, an action may be
maintained to recover the tax paid, with interest, in such manner as may be provided by
the Legislature.” In the context of payroll taxes, the Legislature has enacted detailed



                                              6
administrative procedures that must be exhausted before filing a lawsuit to challenge a
tax assessment.
       The process begins when EDD issues a notice of assessment. If the entity to
whom the notice was issued disagrees with the assessment, it has 30 days to file a petition
for reassessment with an ALJ. (§ 1222.) The ALJ shall review the matter, grant a hearing
if requested, and render a decision. (§ 1223.) Within 30 days of service of the ALJ’s
decision, the entity may file an appeal to the Appeals Board, and the Appeals Board’s
decision becomes final 30 days after it is served. (§ 1224.) We will refer to this part of
the process as the “petition for reassessment process.”
       The process does not end when the Appeals Board issues its decision on the
petition for reassessment. Instead, if the entity disagrees with the decision and still
wishes to challenge the assessment, it must pay the assessment in full and file a “claim
for refund” with EDD. (See § 1178, subd. (d) [“Following a final decision denying a
petition for reassessment . . . the employing unit . . . may file a claim for refund upon
payment of the amount of the assessment . . . and thereafter may pursue all administrative
and judicial review rights . . .”].) If EDD denies the claim for refund, the entity has 30
days to appeal the denial to an ALJ. (§§ 1180, 1222.) A hearing “is not required . . . if a
prior hearing has been afforded the petitioner involving the same issues” unless the
employer “files an affidavit setting forth new and additional evidence,” in which case the
ALJ “may grant an additional hearing” before rendering a decision. (§ 1223.) Within 30
days of service of the ALJ’s decision, the entity may file an appeal to the Appeals Board,
which will render a final decision. (§ 1224.) We will refer to this part of the appeals
process as the “claim for refund process.”
       Section 1241 provides: “No suit or proceeding shall be maintained in any court
for the recovery of any amount of contributions, interest or penalties alleged to have been
erroneously or illegally assessed or collected unless a claim for refund . . . has been filed
pursuant to this chapter. Within 90 days after the service of the notice of the decision of

                                              7
the appeals board upon an appeal, the claimant may bring an action against the director
[of EDD] . . . in a court of competent jurisdiction in the County of Sacramento for the
recovery of the whole or any part of the amount with respect to which the claim has been
denied.” (§ 1241, subd. (a).) As we will discuss in more detail below, in Merchandising
Concept Group, Inc. v. California Unemployment Ins. Appeals Bd. (2010)
181 Cal.App.4th 1274, 1280-1281 (Merchandising Concept Group) and Patane v. Kiddoo
(1985) 167 Cal.App.3d 1207, 1211-1212 (Patane), this court held section 1241 requires a
claimant to exhaust all steps of the claim for refund process in order to file a lawsuit
challenging an EDD tax assessment.
              iii.   Analysis
       Nationwide’s problem is that although it exhausted all steps of the petition for
reassessment process, it did not begin, much less exhaust, the claim for refund process.2
It thus does not allege facts showing it exhausted all available administrative remedies
before resorting to the courts. Its problem is illustrated by Merchandising Concept
Group, supra, 181 Cal.App.4th 1274 and Patane, supra, 167 Cal.App.3d 1207. Both
cases were decided by this court, are factually similar, and conclusively demonstrate why




2       It is clear from the allegations in the petition that Nationwide did not complete the
claim for refund process. It alleges “section 1241 is no longer available as the statutory
period has expired,” and we find this constitutes an admission that it did not exhaust its
administrative remedies. It also alleges that resorting to the claim for refund process
“would be futile because it is clear what EDD’s decision would be,” and we find this
constitutes a further admission it did not begin or complete that process. We also note
that Nationwide does not raise a futility argument on appeal, likely because it recognizes
futility is not an excuse for failing to exhaust the claim for refund process. (Patane,
supra, 167 Cal.App.3d at p. 1214.) Because it is clear from the allegations in the petition
that Nationwide did not exhaust the claim for refund process, we agree there is no
reasonable possibility the petition could be amended to cure the defect, and the trial court
thus did not abuse its discretion in denying leave to amend the causes of action
challenging the assessment.


                                              8
Nationwide’s petition was properly dismissed for failure to exhaust administrative
remedies.
       In Merchandising Concept Group, supra, 181 Cal.App.4th 1274 EDD audited the
plaintiff, determined it had misclassified certain workers as independent contractors, and
issued an assessment as a result. The plaintiff filed a petition for reassessment with an
ALJ, and the ALJ affirmed the assessment. The plaintiff then appealed the ALJ’s
decision to the Appeals Board, and the Appeals Board affirmed. (Id. at p. 1278.) The
plaintiff paid the assessment and filed a claim for refund with EDD, and also filed a
lawsuit seeking a writ of mandate directing the Appeals Board to set aside its decision.
The Appeals Board demurred on the ground that the plaintiff failed to exhaust its
administrative remedies. (Ibid.) The trial court sustained the demurrer without leave to
amend, and the appellate court affirmed. (Id. at pp. 1277, 1279.)
       Although the court implicitly recognized that filing a petition for reassessment and
obtaining a final decision from the Appeals Board denying the petition was part of the
exhaustion process, it held that it was not the end of the process. (Merchandising
Concept Group, supra, 181 Cal.App.4th at p. 1280.) Instead, in order to fully exhaust
administrative remedies, section 1241 also required the plaintiff to complete the claim for
refund process. As the court explained: “Here, the administrative remedy Merchandising
Concept Group had to exhaust to bring a ‘suit or proceeding’ in the superior court was its
claim of refund. This requirement of exhaustion is found in section 1241, subdivision
(a). While the first sentence of subdivision (a) seems to require only the filing of the
claim for refund, the second sentence of subdivision (a) makes clear a decision from the
Appeals Board, here, one regarding the petition for review of the denial of claim for
refund, is also necessary for exhaustion.” (Merchandising Concept Group, at pp. 1280-
1281, fn. omitted.) The court thus held a claimant must exhaust all steps of the claim for
refund process — including filing a claim for refund and appealing an adverse decision
first to an ALJ and then to the Appeals Board — before bringing a lawsuit to recover

                                              9
payroll taxes. (Id. at p. 1281.) Although the plaintiff completed the first step by filing a
claim, it did not complete the remaining steps and “thus fail[ed] to satisfy the requirement
to exhaust its administrative remedies.” (Ibid.)
       The same result was reached in Patane, supra, 167 Cal.App.3d 1207, on similar
facts. There, EDD audited the plaintiff, determined the plaintiff had misclassified
employees as independent contractors, and issued an assessment for unpaid employer
contributions. The plaintiff filed a petition for reassessment, the ALJ overturned the
assessment, EDD appealed, and the Appeals Board reversed and reinstated the
assessment. The plaintiff then paid the assessment and filed a claim for refund. EDD
denied the claim, the plaintiff petitioned for review, and an ALJ denied the petition. The
plaintiff never appealed the ALJ’s decision to the Appeals Board, however, and instead
filed a lawsuit seeking a refund. (Id. at pp. 1209-1210.) EDD moved for summary
judgment on the ground the plaintiff failed to appeal the denial of its claim for refund to
the Appeals Board. The trial court granted the motion and the appellate court affirmed,
holding the “plaintiff’s failure to exhaust administrative remedies is established beyond
reasonable dispute and that such failure constitutes a fatal departure from the procedure
governing an action for refund of taxes to which no extra statutory exceptions apply.”
(Id. at p. 1209; see id. at pp. 1210-1211.)
       Like the court in Merchandising Concept Group, the Patane court held section
1241 “provides the manner of an employer action to recover improperly assessed
unemployment insurance contributions.” (Patane, supra, 167 Cal.App.3d at p. 1211.) It
then held section 1241 “establishes two prerequisites to an action for [a] refund of” taxes
the employer claims were “illegally assessed and collected.” (Patane, at p. 1211, italics
added.) “First, the employer must file with [EDD] a timely claim for refund.” (Ibid.)
The plaintiff completed the first prerequisite. “Second, the employer must commence the
action within 90 days after service of notice of the [appeals] board’s decision upon an
appeal from [EDD’s] denial of his refund claim.” (Ibid.) The court noted the “plaintiff

                                              10
could not have satisfied this [second] prerequisite to judicial relief unless he first
appealed to the [appeals] board from denial of his refund claim.” (Id. at pp. 1211-1212.)
Because it was undisputed the plaintiff never filed an appeal with the Appeals Board, it
did not complete the second prerequisite to judicial review, which was “fatal” to its
lawsuit. (Id. at pp. 1213-1214.)
       The Patane court found further support for its conclusion in section 1179, which
provides: “A waiver of any demand against the state or the director [of EDD] on account
of overpayment shall apply when any of the following occur: [¶] (a) Failure to [timely]
file a claim with [EDD] . . . . [¶] (b) Failure, after denial of a claim by [EDD], to
[timely] file a petition for review with an administrative law judge . . . . [¶] (c) Failure
to [timely] file an appeal from an adverse administrative law judge’s decision to the
appeals board . . . .” (Italics added.) Because the plaintiff failed to appeal the ALJ’s
decision denying the claim for refund to the Appeals Board, the court found the plaintiff
had waived the plaintiff’s claim for a refund. (Patane, supra, 167 Cal.App.3d at
pp. 1212, 1214.)
       So, too, in this case. It is clear from the allegations in the petition that Nationwide
did not file a claim for refund, and it thus did not begin, much less exhaust, the claim for
refund process. Although it exhausted some available administrative remedies, it was
required to exhaust “all” available administrative remedies, and its failure to do so is fatal
to its lawsuit. (Muskan Food &amp; Fuel, Inc. v. City of Fresno (2021) 69 Cal.App.5th 372,
383.) Moreover, by failing to file (1) a claim for refund with EDD, (2) a petition for
review with an ALJ after EDD denied the claim, and (3) an appeal from the ALJ’s
adverse decision to the Appeals Board, Nationwide has waived its claim for a refund.
       Nationwide appears to argue it was not required to exhaust administrative
remedies because it paid the assessment after the lawsuit was filed. This argument
conflates two separate concepts: (1) the exhaustion of administrative remedies
requirement, and (2) the so-called “pay first, litigate later” rule.

                                               11
       The pay first, litigate later rule provides, “ ‘A taxpayer ordinarily must pay a tax
before commencing a court action to challenge the collection of the tax.’ ” (California
Logistics, Inc. v. State of California (2008) 161 Cal.App.4th 242, 247.) The purpose of
the rule “ ‘ “is to allow revenue collection to continue during litigation so that essential
public services dependent on the funds are not unnecessarily interrupted.” ’ ” (Ibid.) The
rule is reflected in section 32 of article XIII of the California Constitution, which
provides, “No legal or equitable process shall issue in any proceeding in any court . . . to
prevent or enjoin the collection of any tax.” Section 1851 of the Unemployment
Insurance Code contains a similar provision specific to taxes collected by EDD.3
       Nationwide argues the pay first, litigate later rule is inapplicable because it paid
the assessment after the petition was filed. The trial court agreed. As noted above, one
of the grounds for the demurrer was that “article XIII, section 32 of the California
Constitution and Unemployment Insurance Code section 1851 prohibit the issuance of
writs to enjoin or prevent tax collection.” The trial court overruled the demurrer on this
ground, finding, “Because all taxes due have been paid, there can no longer be a court
order ‘to prevent or enjoin the collection of any tax.’ ”
       The fact that the pay first, litigate later rule is inapplicable, however, does not
mean the exhaustion of administrative remedies requirement is also inapplicable.
Instead, in order to file a lawsuit challenging a tax assessment, a party must do two
things: (1) pay the assessment (i.e., in order to comply with the pay first, litigate later
rule), and (2) exhaust all available administrative remedies regarding the assessment.
Even though Nationwide paid the assessment, it did not exhaust all administrative
remedies by filing a claim for refund and completing that process before filing a lawsuit.


3       It provides, “No injunction or writ of mandate or other legal or equitable process
shall issue in any suit, action or proceeding, in any court against this State or against any
officer thereof to prevent or enjoin the collection of any contribution sought to be
collected under this division.” (§ 1851.)

                                              12
Merchandising Concept Group and Patane are instructive. In both cases, the plaintiff
paid the assessment before filing a lawsuit, and the lawsuits thus were not barred by the
pay first, litigate later rule. In both cases, however, the court found the lawsuits were
barred by the failure to exhaust administrative remedies. (Merchandising Concept
Group, supra, 181 Cal.App.4th at p. 1277; Patane, supra, 167 Cal.App.3d at p. 1209.)
Simply put, paying the assessment does not excuse a claimant from exhausting all
available administrative remedies, and Nationwide’s failure to do so is fatal to its claims.
       B.     Adequate Remedy at Law
       The trial court also granted the demurrer to the causes of action challenging the
assessment on the ground that writ relief was not available because Nationwide had an
adequate remedy at law. We agree.
       It has long been held that a writ of mandate will not issue “when the petitioners
have a plain, speedy, and adequate remedy at law.” (Abbott v. Superior Court (1924)
69 Cal.App. 660, 664; see also Code Civ. Proc., § 1086 [“writ must be issued in all cases
where there is not a plain, speedy, and adequate remedy, in the ordinary course of law”];
County of Sacramento v. Assessment Appeals Bd. No. 2 (1973) 32 Cal.App.3d 654, 672
[“A writ of mandamus . . . only issues when there otherwise is no speedy and adequate
remedy at law”].) It has also long been held, “Because a tax refund action provides . . .
an adequate remedy at law, equitable actions for mandamus, injunctive, and declaratory
relief generally are unavailable to obtain judicial review of a local assessment appeals
board decision.” (William Jefferson &amp; Co., Inc. v. Orange County Assessment Appeals
Bd. No. 2 (2014) 228 Cal.App.4th 1, 11; see also Schoenberg v. County of Los Angeles
Assessment Appeals Bd. (2009) 179 Cal.App.4th 1347, 1355 [“mandate is available only
when there is no adequate remedy at law, and Schoenberg had a remedy at law in the
form of a tax refund action”].) Because a tax refund action is an adequate remedy at law,
Nationwide cannot challenge the Appeals Board’s decision by petition for writ of
mandate.

                                             13
          Once again, Merchandising Concept Group is instructive. Like Nationwide, the
plaintiff in Merchandising Concept Group filed a petition for writ of mandate challenging
the Appeals Board’s decision denying its petition for reassessment. (Merchandising
Concept Group, supra, 181 Cal.App.4th at p. 1278.) The plaintiff argued the purpose of
its petition was not “to obtain a refund of taxes, but rather, to ‘test the validity of the
[Appeals Board’s] [rea]ssessment decision,’ ” and its petition thus was not barred by the
rule that writ relief is unavailable when an adequate remedy at law exists. (Id. at
p. 1284.) The court disagreed and held that no matter how the plaintiff characterized the
relief sought, “the result is still the same because there is an adequate legal remedy.
[Citation.] [¶] The only significance of the Appeals Board’s decision on the
reassessment petition was its determination the workers were employees. That issue will
be subject to judicial review when [the plaintiff] completes the administrative process
initiated by its claim for a refund. Thus, the refund suit is an adequate legal remedy.”
(Ibid.)
          Nationwide argues a refund suit is no longer an adequate or available remedy
because it is too late for it to file a claim for refund. This may be true, but it is not
relevant. The issue is whether Nationwide “has or had an adequate legal remedy.”
(Barratt American, Inc. v. City of Rancho Cucamonga (2005) 37 Cal.4th 685, 705, italics
added.) Thus, “The fact that [Nationwide] is time-barred from . . . [filing a claim for
refund] does not change the result. Where the Legislature has provided for a[n] . . .
action to review government actions, mandamus is unavailable to bypass the statutory
remedy after the limitations period has expired.” (Ibid.; see also Roth v. City of Los
Angeles (1975) 53 Cal.App.3d 679, 687 [“The fact that the remedy is no longer available
does not, of course, alter application of the doctrine, as to hold otherwise would
obviously permit circumvention of the . . . doctrine”].)
          Nationwide also argues Code of Civil Procedure section 1094.5 specifically
authorizes judicial review of the Appeals Board’s decision. Code of Civil Procedure

                                               14
section 1094.5 authorizes a court to inquire “into the validity of any final administrative
order or decision made as the result of a proceeding in which by law a hearing is required
to be given, evidence is required to be taken, and discretion in the determination of facts
is vested in the inferior tribunal, corporation, board, or officer.” (Code Civ. Proc.,
§ 1094.5, subd. (a).) Nationwide argues the Appeals Board’s decision fits squarely within
the plain language of Code of Civil Procedure section 1094.5, and that decision thus may
be challenged by petition for writ of mandate. We disagree. Once again, Merchandising
Concept Group is instructive. The plaintiff in that case made a similar argument, which
the court rejected, explaining: “While ‘[t]he purpose of [Code of Civil Procedure]
section 1094.5 is to inquire into the validity of any final administrative order’ [citation],
the Appeals Board’s characterization of its reassessment decision as ‘final’ is not
controlling. As we have already explained, on the issue of the propriety of the tax
assessment, a final decision is the Appeals Board’s decision on the petition for review
regarding the denial of a claim for refund, which comes after its decision on the
reassessment.” (Merchandising Concept Group, supra, 181 Cal.App.4th at p. 1283.) The
court ultimately held there is no right to judicial review of the Appeals Board’s decision
denying a petition for reassessment, and judicial review may only be had by filing a
refund action after exhausting all administrative remedies by completing the claim for
refund process. (Id. at pp. 1281, 1284.) So, too, in this case.
                                              III
                Nationwide’s Challenge to Charges to its Reserve Account
       The fourth cause of action does not concern the assessment. Instead, it concerns
charges to Nationwide’s reserve account. In support of this cause of action, the petition
alleged one of Nationwide’s drivers (Koon Mosana) “filed a UI claim after [Nationwide]
stopped assigning loads to him as his commercial license was revoked by the state and as
such he could not work without the requisite licensing”; Nationwide “contested” the
claim and/or “protested” that the driver “was not [an] employee, and that even if [he] was

                                              15
found to be an employee, he does not qualify for UI benefits”; and “EDD did not
schedule a hearing” to “determine whether he qualified for UI benefits” and “unilaterally
charged [Nationwide’s] reserve account.” Although perhaps not expressly alleged, it is
implied that this cause of action challenges the charges to Nationwide’s reserve account.
       The trial court analyzed the fourth cause of action differently than the causes of
action challenging the assessment. It sustained the demurrer on the ground that
Nationwide failed to exhaust its administrative remedies, but overruled the demurrer on
the ground that writ relief was unavailable. This appeal challenges only the first ruling.
       On the exhaustion issue, the trial court noted, “Challenges to charges to a reserve
account are distinct from challenges to tax assessments, and are subject to a separate
exhaustion requirement” governed by section 1034. Section 1034 provides a “written
protest” must be filed with EDD “within 60 days after the date of mailing of any
statement of . . . charges to the reserve account. . . . No protest may be made on the
ground that a claimant was ineligible for a benefit payment where the employer was
notified . . . of the filing of a claim for the benefits or of a determination of the claimant’s
eligibility therefor and the employer failed to file a timely appeal on the benefit claim, or
a final decision of an administrative law judge or of the appeals board affirmed the
payment of the benefits.” The trial court noted the petition alleged only that Nationwide
“contested” that the driver was not its employee, and “protested” his claim for UI
benefits, and it concluded, “Without more details, these allegations are insufficient to
show that [Nationwide] complied with section 1034.” It thus sustained the demurrer to
the fourth cause of action without leave to amend.
       Nationwide spends little time discussing this portion of the trial court’s ruling. It
appears to argue, however, both that the trial court should not have sustained the
demurrer because it has adequately alleged it complied with section 1034, and,
alternatively, that the trial court abused its discretion by denying leave to amend because



                                               16
any pleading defects “can be cured by amendment.” We disagree with the first argument
but agree with the second.
       The petition alleges, “One of Petitioner’s workers filed a claim for unemployment
insurance (UI) benefits, which Petitioner protested however its reserve account was
charged against its protest without a hearing to determine whether he qualified for UI
benefits.” It also alleges: “Petitioner’s worker Mr. Mosana . . . filed a UI claim after
Petitioner stopped assigning loads to him as his commercial license was revoked by the
state as such he could not work without the requisite licensing. Petitioner contested that
Mr. Mosana was not Petitioner’s employee, and that even if Mr. Mosana was found to be
an employee, he does not qualify for UI benefits. . . . [¶] . . . Petitioner submitted facts to
support its position, however, EDD did not schedule a hearing and unilaterally charged
Petitioner’s reserve account.” These are the only allegations that address exhaustion. We
cannot tell from these allegations whether Nationwide complied with section 1034, and
we thus agree Nationwide has not adequately alleged facts showing it exhausted its
administrative remedies and the trial court properly sustained the demurrer on this basis.
       The only remaining issue is whether the trial court abused its discretion in denying
leave to amend. In explaining why it denied leave to amend, the trial court noted it had
“previously sustained the demurrer to the original petition on the same grounds,” and
Nationwide “failed to cure” defects and it thus “does not appear that it will be able to do
so with an additional opportunity to amend.” We note the original petition did not
include a cause of action challenging charges to Nationwide’s reserve account, and the
first amended petition was thus Nationwide’s initial attempt to plead such a cause of
action. “It is often said that leave to amend a complaint should be liberally granted,
particularly with respect to a party’s initial complaint. ‘The policy favoring amendment
is so strong that it is a rare case in which denial of leave to amend can be justified.’
[Citation.] ‘ “Where [a] complaint is defective, ‘[i]n the furtherance of justice great
liberality should be exercised in permitting a plaintiff to amend his complaint, and it

                                              17
ordinarily constitutes an abuse of discretion to sustain a demurrer without leave to amend
if there is a reasonable possibility that the defect can be cured by amendment.’ ” ’ ” (City
of Torrance v. Southern California Edison Co. (2021) 61 Cal.App.5th 1071, 1091.)
“Generally, it is held to be an abuse of discretion to sustain without leave to amend a
demurrer to an original complaint, unless the complaint shows on its face that it is
incapable of amendment.” (Temescal Water Co. v. Department of Public Works (1955)
44 Cal.2d 90, 107.) We cannot say the petition shows on its face that it is incapable of
amendment to adequately allege exhaustion.
       We also note that whether the trial court abused its discretion in denying leave to
amend “is reviewable on appeal ‘even in the absence of a request for leave to amend’
[citation] . . . .” (Aubry v. Tri-City Hospital Dist. (1992) 2 Cal.4th 962, 971.) “While a
plaintiff need not request leave to amend in order to preserve on appeal the issue of
whether the court abused its discretion in sustaining a demurrer without leave to amend
(Code Civ. Proc., § 472c), on appeal the plaintiff does bear the burden of proving there is
a reasonable possibility the defect in the pleading can be cured by amendment.” (Palm
Springs Tennis Club v. Rangel (1999) 73 Cal.App.4th 1, 7.) “ ‘The plaintiff . . . may . . .
meet this burden [for the first time] on appeal.’ ” (Sierra Palms Homeowners Assn. v.
Metro Gold Line Foothill Extension Construction Authority (2018) 19 Cal.App.5th 1127,
1132, brackets in original.)
       It appears Nationwide has attempted to meet its burden by attaching to its opening
brief a document that it contends demonstrates it complied with section 1034. The
document was sent to Nationwide by EDD. It is titled “Notice of Wages Used for
Employment Insurance (UI) Claim,” and it concerns the UI claim filed by Mosana. It
states, “If information about wages is correct and you do not wish to request a ruling, no
further action is necessary.” It also states Mosana received UI benefits, and “100.000%”
of the benefits paid to him are “chargeable to your reserve account.” Finally, it states,
“To request a ruling, supply the information below” by “06-07-17.” Nationwide’s

                                             18
attorney signed the form on June 6, 2017, and attached a paragraph stating Mosana
suffered a stroke and could no longer drive a truck, and he was an independent contractor
rather than an employee. On its face, this notice appears to constitute a “statement of
charges . . . to [Nationwide’s] reserve account” within the meaning of section 1034, and it
further appears Nationwide followed the instructions on the notice for filing a written
protest thereto and requesting a ruling.
       Respondents never mention this document, much less address its relevance (or
lack thereof) to the exhaustion issue. Indeed, they barely address the fourth cause of
action. They note section 1034 requires a party seeking to challenge a charge to a reserve
account to file a written protest “ ‘within 60 days after the date of mailing of any
statement of charges or credits and charges to the reserve account,’ ” and they argue a
party who fails to do so “is foreclosed from later making such a challenge.” This is true,
but it appears Nationwide contends it can amend the complaint to allege it filed a written
protest within 60 days of receiving a statement of charges to its reserve account. If so, it
should be given the opportunity to do so. Respondents also argue, “This dispute arose
from [EDD’s] tax assessment, not charges to [Nationwide’s] reserve account,” and they
note the only relief sought in the petition is an order directing the Appeals Board to set
aside its decision upholding the assessment. This may be true, but however the dispute
arose, the petition contains one cause of action challenging charges to Nationwide’s
reserve account, and the petition could be amended to seek relief specific to that cause of
action (and we note it already seeks “such other and further relief as the Court may deem
proper”).
       Particularly with almost no argument from respondents on this issue, we find there
is at least a reasonable possibility Nationwide could amend the petition to allege it
complied with section 1034, and it was an abuse of discretion to deny leave to amend.




                                             19
                                      DISPOSITION
       The judgment of dismissal is reversed. On remand, the trial court is directed to
vacate that portion of its order sustaining the demurrer to the fourth cause of action
challenging charges to Nationwide’s reverse account without leave to amend, and to grant
Nationwide leave to amend to allege, if it can, that it exhausted its administrative
remedies as to that cause of action. In all other respects, the order sustaining the
demurrer without leave to amend is affirmed. The parties shall bear their own costs on
appeal. (Cal. Rules of Court, rule 8.278(a)(3), (5).)



                                                      /s/
                                                  EARL, P. J.



We concur:



   /s/
MAURO, J.



    /s/
MESIWALA, J.




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